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                               UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

             Plaintiffs,
                                                          Case No. 1:18-cv-00950-LO-JFA
v.

COX COMMUNICATIONS, INC., et al.,

             Defendants.



                                         [PROPOSED] ORDER

                UPON CONSIDERATION of Plaintiffs Unopposed Motion for Withdrawal of Counsel, on

     this ___ day of January, 2020, it is hereby

                ORDERED that the Unopposed Motion for Withdrawal of Counsel is GRANTED; and

     it is

                FURTHERED ORDERED that Kerry M. Mustico is hereby withdrawn as counsel of

     record for Plaintiffs in the above-captioned case.


     ENTERED this ___ day of ______________2020

     Alexandria, Virginia

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                                                          Judge for the Eastern District of Virginia




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